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                        THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division

R.M.S. TITANIC, INC.,
Successor in interest to Titanic Ventures,
limited partnership,

        Plaintiff,

v.                                                         Civil Action No. 2:93-cv-902

The Wrecked and Abandoned Vessel, . . .
believed to be the R.M.S. TITANIC, in rem,

        Defendant.


                                  MOTION TO INTERVENE

        The Official Committee of Equity Security Holders (the “Equity Committee”), a party-in-

interest in the Chapter 11 case of Premier Exhibitions, Inc. (“Premier”) and its subsidiaries,1

pending in the United States Bankruptcy Court for the Middle District of Florida (the

“Bankruptcy Court”), Case No. 3:16-bk-02230-PMG (the “Bankruptcy Case”), by its counsel,

files this motion to intervene. R.M.S. Titanic, Inc. (“RMST”) is a subsidiary of Premier, a debtor

in its own chapter 11 case, and is the Plaintiff in the above-captioned case. For the reasons set

forth in the accompanying memorandum, the Equity Committee respectfully requests the Court

grant this motion.




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922);
Premier Exhibitions Management, LLC (3101); Arts and Exhibitions International, LLC (3101);
Premier Exhibitions International, LLC (5075); Premier Exhibitions NYC, Inc. (9246); Premier
Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309) (collectively, the
“Debtors”). The Debtors’ service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.
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        On or about June 1, 2018, the Equity Committee filed in the Bankruptcy Court its

Chapter 11 Plan of Reorganization Proposed By The Official Committee Of Equity Security

Holders Of Premier Exhibitions, Inc. (the “Equity Committee Plan”) [ECF No. 1045] and its

Disclosure Statement To Accompany Chapter 11 Plan Of Reorganization Proposed By The

Official Committee Of Equity Security Holders Of Premier Exhibitions, Inc. (the “Equity

Committee Disclosure Statement”) [ECF No. 1044]. Counsel to the Equity Committee conferred

with counsel to RMST and agreed that RMST would file a Periodic Report with this Court to

which RMST would attach a copy of the Equity Committee Plan and the Equity Committee

Disclosure Statement to keep this Court apprised of the filing of those pleadings. RMST filed

that Periodic Report on or about June 12, 2018.

        On or about July 25, 2018, the Bankruptcy Court held a status conference to consider,

among other things, the procedure for consideration by the Bankruptcy Court of the Equity

Committee Plan and Disclosure Statement, a plan and disclosure statement filed by the Official

Committee of Unsecured Creditors,2 and a sale motion filed by Premier, RMST’s parent.

        On August 3, 2018, the Bankruptcy Court issued an amended order [ECF No. 1151] in

the Bankruptcy Case stating, among other things, “the parties should take the steps that they

believe are necessary for approval of the proposed sales by the District Court.” A copy of such

order from the Bankruptcy Court is attached to the accompanying memorandum as Exhibit E. In

the same order, the Bankruptcy Court stated:

        The Titanic artifacts are subject to administration by the United States District
        Court for the Eastern District of Virginia and are also subject to the “Covenants
        and Conditions for the Future Disposition of Objects Recovered from the RMS
        Titanic by RMS Titanic, Inc. Pursuant to an In Specie Salvage Award Granted by
        the United States District Court for the Eastern District of Virginia.”


2
  RMST submitted the Creditors Committee Plan and Disclosure Statement to this Court as
attachments to a Periodic Report filed by RMST.


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       Because the Debtor’s assets are also subject to the jurisdiction of the District
       Court in Virginia, the parties should move in that Court for approvals or
       determinations required by the District Court to complete the proposed
       transactions. See, for example, In re Aqua Pesca, LLC, 2018 WL 3031085, at 4
       (Bankr. D. Alaska) (A sale order directed the parties to take such “steps as are
       necessary or appropriate to obtain” the approval of the applicable licensing
       authority).

       Pursuant to and in accordance with the order from the Bankruptcy Court, counsel for the

Equity Committee files this motion to intervene in anticipation that the Equity Committee will

seek relief from this Court in connection with the Equity Committee Plan, and such further and

other relief as the Court may deem just and proper.

Dated: August 17, 2018.

                                     Respectfully submitted,

                                     THE OFFICIAL COMMITTEE OF
                                     EQUITY SECURITY HOLDERS OF
                                     PREMIER EXHIBITIONS, INC.

                                     By Counsel:

                                     /s/ Jeffrey G. Gilmore
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 17th day of August, 2018, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System which will then send a notification of

such filing (NEF) to the following:

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